Case 18-40938-rln11 Doc 3 Filed 03/07/18 Entered 03/07/18 16:55:34 Page 1 of 3

Fill in this information to identify the case:

Deotor name Tota| Diagnostix Labs, LLC

United Siates Bankruptcy Court for the: NORTHERN D|STRICT OF TEXAS

 

Case number 18-40938-rfn11

(ifi<nown;

Official Form 204

Chapter 11 or Cnapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
C|aims and Are Not insiders

|:[ Check ii this le an
amended filing

 

121'15

A list of creditors holding the 20 largest unsecured claims must he filed in a Chapter 11 or Chapter 9 case. include claims which
the debtor disputes. iJo not include claims by any person or entity who is an insider, as delined ln 11 U.S.C. § 101{31). Also, do

not include claims by secured crodltors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders ofthe 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of creditor and Name, telephone Nature of the claim indicate if Arnount of unsecured claim
complew ma\l[l'\g numbe'r and aman (for example. trade Clalm is |f the claim is fully unsecured. lill in only
addNSS» including zIiii address Of debts. bank loans. confin§€n¢r unsecured claim amount lt claim is partially
tolls 0!9€||¥0\' professional unliquidated, secured. li|l in total claim amount and
Col'llacl services, and °l' dispude deduction for value of collateral or setoff to
government calculate unsecured claim.
contracts)
'i`otal Deduction unsecured
clalm. if for value claim
partially of
secured collateral
or setoff
1 Luminex Jeii Kal|achiKathryn Contract for Disputed 5312_954_72
PO Box 844222 Hudachek Reagents for LlS
Dalias. TX 7528M222 512-351-4367 Sys.
2 Path-Tec LLC Vaierie Geter Supp|ier of Test K`ris Disputed 880.520.32
PO Box 266 ?06-507-1445
Cclumbus. GA31901-
0266
3 Channei H. lnc. Robert Cape||i i_a\.\suit Dlsputed 836.743.87
51 Markel Sl. #R
PO 80x 99 roberi@channelh,co
Amesbury. MA 01913
4 X|FIN Tammy Lawrence - Seitlement 525,000.00
12225 E| Carnino Rd, Exl. 2902 Agreernent
San Diego. CA 92130 858-?93-5700
5 MedCc Data LLC Danie| E. Rodgers Bii|ing Services Disputed 55.906.25
2002 N. Lois Ave_, Suite 888-633-2632
600
Tampa. Ft. 33607
Oiilcia| Form 204 Ehapter 11 or Chapter 9 Cases: List of Credltors Who I-lave the 20 Largest Linsocured Clalms page 1

 

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Debier Total Diagnostix Labs, LLC ease number rif knewn) 18-40938-rfn11
NE|"I'|E
Name of creditor and Neme. telephone Nature of the claim indicate ii Amount of unsecured claim
complete mailing number. and amal| (tor exampie, trade Cla|m IS if the claim is fully unsecured. nil in'onlv
address, including zip address et debts. bank loans. COnf|ngenf. unsecured claim amount_. if claim is partially
code creditor professional unliquidated» secured. tilt in total claim amount and
Coma_¢i scrvices. and or dispude deduction for value`of collateral o`r`setoff to
government calculate unsecured ciaim.
contracts)
Tot.al Deductiorl Unsecured
claim, if for value claim
partially of
secured collateral
or setoff
6 Translational Soitvrare. Don Ru|e Software Services Disputed 52.999.54
inc, 205-?7?-4063
12410 SE 32nd St,. Suite
250
Beilevue. WA 98005
Chapter 11 or Chaptor 9 Cases: Llst of Credltors Who Have the 20 Largest Unsecured Claims page 2

Ofi'lcial Form 204

Case 18-40938-rin11 DOC 3 Filed 03/07/18 Entered 03/07/18 16:55:34 Page 3 013

Fill in this information to identify the case and this filing:

Debtor Name Total Diagnostix Labs, LLC

 

United States Bankn.lptcy Court for the: NORTHERN DlSTRlCT OF TEXAS

Case number 18-40938-|'fl‘l1 1
(if known)

Oflicial Form 202
Declaration Under Pena|ty of Perjury for Non-lndividual Debtors 12115

 

 

An individual who ls authorized to act on behalf of a non-individual debtor. such as a corporation or partnershlp, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that ls not included
in the document, and any amendments of those documents This form must state the lndivldual's position or relationship to
the debtor, the identity of the document, and the dato. Banlrruptcy Rules 1008 and 9011.

WARN|NG - Bankruptcy fraud is a serious crimo. lacking a false statement, concealing property, or obtaining money or
property by fraud ln connection with a bankruptcy case can result ln fines up to $500.000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3511.

- Declaratlon and signature

l am the president. another ofhcer, or an authorized agent of the corporation: a member or an authorized agent of the pannersh|p;
or another individual serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and
correct:

Schedufe A/B: Assers-Reai and Personai Property (Officia| Form 206AIB)

Schedule D.' Credi!ors Who Have Cfaims Secured by Properry (Official Form 2060)
Schedufe E/F: Credirors Who Have Unsecured Cfaims (Official Form 206ElF)
Schedule G: Executory Contracts and Unexpired Leeses (Ofiicial Form 2066)
Schedule H: Codebfors (Offlcla| Form 206H)

A Summary ofAssets and Liabili!ies for Non~lndividuals (Olfrciai Form 206-Summary)
Amended Schedule

 

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciar'ms and Are Nat insiders
(Ofiicial Form 204)

|:| Other document that requires a declaration

l declare under penalty of perjury that the foregoing is e nd correct Mjw
Executed on 03107[2018 X j g ®

MM I DD IYYYY Signature of individual signing on behalf of debtor

 

D. Alan Meoker
Printed name

Chlef Executive Offlcer
Position or relationship to debtor

Ofticia| Form 8202 Doc|aratlon Undor Ponalty of Per]ury for Non-ind|vldual Debtors

